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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

MOHAMMAD F. QAIYMAN.
Plaintiff,

Vv. Civil No. 3:20cev829 (DJN)

CHAD F. WOLF, et al.,

Defendants.

MEMORANDUM OPINION

By Memorandum Order entered on November 20, 2020, the Court conditionally docketed
Plaintiff's action. (ECF No. 2.) On December 11, 2020, the United States Postal Service
returned the August 6, 2020 Memorandum Order to the Court marked, “RETURN TO
SENDER,” because Plaintiff had been released. (ECF No. 4.) Since that date, Plaintiff has not
contacted the Court to provide a current address. Plaintiff's failure to contact the Court and
provide a current address indicates his lack of interest in prosecuting this action. Accordingly,
the action will be DISMISSED WITHOUT PREJUDICE pursuant to Federal Rule of Civil
Procedure 41 (b).

An appropriate Order shall accompany this Memorandum Opinion.

Let the Clerk file a copy of this Memorandum Opinion electronically and send a copy to

Plaintiff. RY
/s/

David J. Novak
United States District Judge

 

Richmond, Virginia
Dated: January 11, 2021
